Case 2:05-cV-02238-BBD-tmp Document 7 Filed 06/23/05 Page 1 of 3 Page|D 15

IN THE UNITED STATES DISTRICT COURT ‘“£° EY~-%~.._n.c
wEsTERN DISTRICT oF TENNESSEE 0 _
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Cl.ERK, U.S. DlST.I€)T.

SHELBY COUNTY HEALTH CARE W D. OF TN` MEM;)H;S
CORPORATION d/b/a REGIONAL

MEDICAL CENTER PLAINTIFF

vs. Case No. 05-2238

BOAR’S HEAD PROVISIONS
COMPANY, lNC. DEFENDANT

 

CONSENT ORDER ON MOTION FOR ADMISSION PRO HAC VICE

 

lt appearing to the Court that the parties herein are in agreement With the motion of John
W. Campbell for permission to have Dan Herrington appear and participate pro hac vice in the
above-styled cause only, the Court will allow Dan Herrington to appear and participate as
counsel for Defendant Boar’s Head Provisions Company, Inc. pro hac vice in the above-styled
case only.

IT lS THEREFORE ORDERED, ADJUDGED, AND DECREED that Dan Herrington
may appear and participate pro hac vice for the Defendant Boar’s Head Provisions Company in

the above styled cause only.

mich/93th

 
    

D` trict Court J ge

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APPROVED:
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JoH W. cAMPBEL‘L (#94061)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02238 Was distributed by faX, mail, or direct printing on
.lune 23, 2005 to the parties listed.

 

 

Teresa Ann McCullough
MCCULLOUGH & MCCULLOUGH
9050 Corporate Gardens Dr.
Germantown7 TN 3 8138

Honorable Bernice Donald
US DlSTRlCT COURT

